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                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF LOUISIANA

 PRESS ROBINSON, EDGAR CAGE,
 DOROTHY NAIRNE, EDWIN RENE
 SOULE, ALICE WASHINGTON, CLEE
 EARNEST LOWE, DAVANTE LEWIS,
 MARTHA DAVIS, AMBROSE SIMS,
 NATIONAL ASSOCIATION FOR THE                Civil Action No. 3:22-cv-00211-SDD-RLB
 ADVANCEMENT OF COLORED PEOPLE
 (“NAACP”) LOUISIANA STATE
 CONFERENCE, AND POWER COALITION
 FOR EQUITY AND JUSTICE,
                  Plaintiffs,

                           v.

 NANCY LANDRY, in her official capacity as
 Secretary of State for Louisiana.

                    Defendant.

 EDWARD GALMON, SR., CIARA HART,
 NORRIS HENDERSON, TRAMELLE
 HOWARD,
               Plaintiffs,                   Civil Action No. 3:22-cv-00214-SDD-RLB

                           v.

 NANCY LANDRY, in her official capacity as
 Secretary of State for Louisiana.

                  Defendant.




 GALMON PLAINTIFFS’ MOTION FOR LEAVE TO FILE REPLY IN SUPPORT OF
MOTION TO RECONSIDER DISMISSAL RULING AND TO SCHEDULE REMEDIAL
                         PROCEEDINGS
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       Edward Galmon, Sr., Ciara Hart, Norris Henderson, and Tramelle Howard (“Galmon

Plaintiffs”), by counsel, respectfully move this Court pursuant to Local Civil Rule 7(f) for leave

of this Court to file a Reply in support of their Motion to Reconsider Dismissal Ruling and to

Schedule Remedial Proceedings, ECF No. 372. A copy of the proposed Reply is attached as

Exhibit A. For cause, Galmon Plaintiffs respectfully represent as follows:

       On May 1, Galmon Plaintiffs moved for reconsideration of this Court’s order granting

Defendants’ Motion to Dismiss in light of the Western District of Louisiana’s permanent

injunction in Callais v. Landry, No. 3:24-cv-00122-DCJ-CES-RRS (W.D. La.), which barred the

use of S.B. 8 and again left Galmon Plaintiffs without a compliant congressional districting map

to which this Court held they were entitled. ECF No. 372. In their Oppositions, both Defendants

Secretary of State and the State of Louisiana discuss new developments that occurred after the

Galmon Plaintiffs’ initial motion; namely, the Western District’s May 6 status conference and its

May 3 sua sponte order granting Galman Plaintiffs limited intervention for remedial proceedings.

See ECF Nos. 380–81. Galmon Plaintiffs thus respectfully request leave to reply to these new

arguments.

       Under Rule 7(f), replies may be filed without leave of court for Rule 12 and Rule 56

motions, and this Court may grant leave to file a reply in other motions. Such leave is appropriate

here, where Galmon Plaintiffs seek reconsideration of this Court’s Rule 12 order granting

Defendants’ Motion to Dismiss. See ECF No. 371 at 3, 13. This Court’s reconsideration could be

just as dispositive of this case as a Rule 12 or Rule 56 motion, and good cause exists because

Plaintiffs seek to address additional arguments raised for the first time after their initial Motion for

Reconsideration was filed, to ensure this Court is fully informed on the relevant issues.
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                                      CONCLUSION

      The Court should grant the Motion for Leave to File a Reply.

Date: May 7, 2024                         Respectfully submitted,


                                          By: /s/Abha Khanna
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